Case 1:19-cv-00845-PLM-PJG ECF No. 1 filed 10/15/19 PagelD. ed tt MC 4:23 PM

CLERK OF COURT
U.S. DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN

BY:_slk SCANNED BY: Mi NOAS- |

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

JRIGINAL

 

 

 

J.,BOGAN-BEY EX REL. JAMES DEMARCO ) 1:19-cv-845
BOGAN ) Paul L. Maloney - U.S. District Judge
PLAINTIFF ) Phillip J. Green - Magistrate Judge
)
) Cause No.
BERRIEN COUNTY SHERIFFS DEPARTMENT) [Leave this blank, the Clerk will
DEFENDANT ) supply the Cause Number when

42 U.S.C. § 1983 COMPLAINT

 

 

I PARTIES
A. PLAINTIFF
1. J.BOGAN-BEY EX REL. JAMES DEMARCO BOGAN
Name: first Middle Last Offender Number

2. Where are you being held: Westville correctional Facility
[Name of the prison or jail where you are incarcerated.]

3. What is the address: , 5501 S. 1100 W. Westvilee Indiana 4693 1

3a. What is the telephone number:

 

4. Did the things you are suing about happen in the place of the listed above?
O Yes, it happened here in the same facility I am being held at today.

x No, it happened at 2068 Fairplane Ave., Benton Harbor Michigan

5. Did the things that you are now suing about, happen:
x before you were confined, or
x when you were confined awaiting trial, or
x after conviction while confined serving a sentence.

B. DEFENDANT(S) How many Defendants are you suing: 3 (for now)

(Form 48)
Case 1:19-cv-00845-PLM-PJG ECF No. 1 filed 10/15/19 PagelD.2 Page 2 of 16

[The Defendants are the people you are suing. Print or type the Defendant’s name, job title, the state or local
government agency the Defendant works for, and the address of that government agency. Remember to included the
Defendant you named in the caption on page one. If you are suing more than one Defendant, number them.]

 

 

 

 

 

 

 

 

# Defendant’s Name Job Title/Government Agency Work Address
I. Berrien County Sheriff's Department-919 Port Street, St. Joseph Michigan 49085
a. Joshua Sutherland, Officer , Berrien County Sheriff's Department
3. Heath Watson, employee Old National Bank N.A. 123 Main St. 34 Floor, Evansville Indiana,
47708. email: Heath. Watson@oldnational.com
WITNESS:
1. Steven Nash, Indiana State Police 100 N. Senate Ave, Indianapolis, Indiana, 46204
Il. GRIEVANCE PROCEDURE

 

Not Applicable.
Ill. CAUSES OF ACTION WITH SUPPORTING FACTS

Attached is the complaint with one page of exhibits.

IV. PREVIOUS LAWSUITS
Have you ever sued anyone for the same things you wrote about in this complaint?
0 NO x YES
Court: UNITED STATES DISTRICT COURT NORTHEN DISTRICT OF INDIANA

 

 

Judge: Unknown Docket Number: 3:19-cv-00301
Date filed: 2019 Date closed:
V. RELIEF
See Attached
2

(Form 48)
Case 1:19-cv-00845-PLM-PJG ECF No. 1 filed 10/15/19 PagelD.3 Page 3 of 16

Vi VERIFICATION AND SIGNATURE

Initial Each Statement and sign at the Bottom

I have completed two properly completed Summons forms (available from the clerk) for each
Defendant I am suing, including full name, job title and work address.

7“ Yhave included one properly completed Process Receipt and Return form (USM-285)
(available from the U.S. Marshall) for each defendant I am suing.

— In addition to this complaint with the an original signature, I have included one (1) copy of
this complaint for each Defendant and one extra for the Court.

fO I have included full payment of the filing fee or attached a properly completed prisoner
petition to Proceed Informa Pauperis (available from the Clerk) with a copy of my Prison Trust Fund
Account Statement for the six moths preceding the filing of this case.

a agree to promptly notify the Clerk of any change of address.

f I have read all of the statements in this complaint. [Do not forget to keep a copy for your
records. |

Z I declared under penalty of perjury that the foregoing is true and correct.

 

(Form 48)
Case 1:19-cv-00845-PLM-PJG ECF No. 1 filed 10/15/19 PagelD.4 Page 4 of 16

UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRIC—
OF MTCHTCAN. SOUTHERN DIVISION

ch. Boean-Bey ox cele Vanes Deamecaocan
Plaintiff

i County Shas fe Devaititent
® osha Sitherland

B Heath Wertson,

 

 

 

Defendants

 

@
“Che is a awi action We comkaving damages, beaualet autasand es

He Doited States Cascden: ang 42 vS.c.$ 1983 rauslhie from

deeravahions une onder color al as ak etait cies ofder dolocotlany
of the FHS ail Cand BY amendment fl. Lalas Stole Covattln
and Sor trespass, conversion , vol lawful ‘whachanania: vith expectaney
si ihsterwe. ano unlautl wlohe. with expected contracural

elaliackons at niveae hel C ich Umer hide lew, including mental dishes,

Suey Trial Demaded. Cuil liability underRCO. 18 ised MU 1GL8,

   

On eect has Aurisdichon over thee dais Pursuant 4, Adc TL
S41 ot the constthon. Z8 OS.C§ 133), 1332. and (343. Plainblf

also invokes the Pendant _irisdiction at this cout} =f decide the
Case 1:19-cv-00845-PLM-PJG ECF No. 1 filed 10/15/19 PagelD.5 Page 5 of 16

stehsbos and Common PN tec} downs, thes aNoune cemavded as

damages exceeds bo 000.” excludins inberests and costs, 18 USC
$ 19k eis nvcked 4-0 provert and restan violahas of 18 USC $ 1962,

VENUE

S Nese 4 is propery extabhahed ia ie sudicial alert pursuant
+p Z8 USCS za \, IB USC § \965@)

PARTIES

Y \ Beoan-Bey aevel 7 es eats Pew is Q sihzen ot the Unired
States and alse Qa pl eorencnt ae Mooroccans boi in
Asneara. As swish hac G Asal sacl bs ait eflicend i.

Al all times relevant elanhff, Was frecent: alta the
Aistrich.

©) Rerecen Crsck Shell: Demelmet iS a pion corperahin

alenaxd with Mo eal lize of appointing, trainina, Promohing,
and supervising is oltties. cle menihecs of the: Meveotice Dvision :

"This chlieelion iadiides instock, uence, conkal and conduct .
of “he heealts Diegadweht oad th. neZemnel.. Dickendaat Monicieakty
at all dep leven fad prion. ricbls ind clic te cachet the

manner in which Na individual defendant carried out Ae: ohsectives

 

 
Case 1:19-cv-00845-PLM-PJG ECF No. 1 filed 10/15/19 PagelD.6 Page 6 of 16

at Wee emplovees obeckves .and te celal all orders, wles, instructions
and ceavlotions promulacted tas Vie: ‘Berean Cason Sheriffis ofc,

Were consichent uoith Me eeiettoiens (3 and Stated and 4, Louk
of AL. aaxennetily:

@ Wycchenalanl _ sen Stheclaud Las at all a eee ea
Na: incidents , ahs eh ace the svat ot! Mics lias an otticer

Berrien (ound Shells De cadmedt Th. acts of the Melon Sock

lean Ssthstead ‘ which penne Ailaect ae Hie liuscurt Were. teken
Undec elas of his otters Lah \. employed ts Defendant Moria sake

Ue cceual Lath individually and A hs official snclite UPon inferno
Gnd beef, Defendant Noho Sutedawd. heranatten A S. i<

a (esident a "Renen County Micican,

Q i ec Ween Tea was aks, Pinas ehwvant idle. issues which
none of this eusuit- an emplovee. of Old Nedronal Bean k,
The wick at He DE ed ath erate asbatal the Less were.

Brivtekeh inthe wear Course of his Sicloment i, Old Nohsiel Beak
aS a Pinal Lwechastor. Loar us “sued iA his Dersonal =a Dod,
‘Upon savas and Ldleck Dilrdant Heh Wateon l eranattor cetewel

be as UW ie G resident af Fivanevi te “Ua Anas
Case 1:19-cv-00845-PLM-PJG ECF No. 1 filed 10/15/19 PagelD.7 Page 7 of 16

FACT

On Ne ae of 1231-2015 dele nden LW" a laewed and responded
4 delendat s Nat Old Notional Bank aoteed & hoa of
Q Promisso note made out ky the Plawntifl | a

(% Aeros af dhe Eoietonenlns Ly emi Lelueen Hw and AS is
included hy colecune. to Exhibit 4 aS hammerettes ints fhe com plaint.

Nielher AS Nor UW. ate gualted len or iit ts betice
On a note. Made. aot ly Plantifl Lother.

ORL Wi eAaauntecind As aires agent case* IS-924l
with We Destin Counle Sheatt Nat cots division. Based UPON ty Case.

aS: uttecibes ethars excelled an VOLD warrant on A. sane of
Plainbitl ther | weated tA Berrien Cooma Michican. Said warrait

LAs void \eciigenst ollaaed MI. atl page sh tale aunt owl every
Accoment os Saw bakes UPDA alice lids ra those ote, torller

ee LIGS tht hy. a, muintaraclay) while Leine prohibited

bifedeal law 12 usc$ Sto eb com CHECK Tevwcorow
Gel determine ee parment-forn was Valid br aoe ay | bye a

axoresss eal lsils states Tin aicttethenelye if such acts.

 

6)

 
Case 1:19-cv-00845-PLM-PJG ECF No. 1 filed 10/15/19 PagelD.8 Page 8 of 16

(2 Dpon a on entry lathe Blt cote de erty Lwas nlauwlol
Iioieer" Ho Sell hat need seeaal Gomme Bok withoat consent

Eta Falydlile: documenk fhe rarelty of Phintifls, his Lher ; his
MotTness ; his Sons awd dauahters phones avd OW avd avery document

4A Nn at-bat assumed hed dN es matted Uson oak the
hea) cflreer \S, Lull an vaventors wilh ealees of “Aredlaneox Piremol™

cae once Boreal th. actuel dowwmenke then ov! halhey hous the
discretionary alone Lis ile. athivers used UPON a detective.

Seach Ldiscrull prelicaha) On prolililed hasts. Za eiRanntl ea.

()) AflertL. Siscariys aS is lecceabe) wah HW \A ofder di ishily
his lal | resin lero thal- HW. AS G trai) ‘aveshecdor Ls not
authonzed L Report Nate oar gains On Lala elas Bak

(OD The entry iN 4 AL Plaintiffs elderly patent home. constrdoled
OA assault. asthe defendants Vidlently ene into t. be

uarenaldll, sataurlill ond si oak owt culo Warrant or authority ot

oa dletuined Plainttd and his patents atthe residente, acavact dee

(S) The at ats lea oc should have. Lae dad a Search ama wie
allows the aeecs 4, use. discrehon is anlandul, Hes. how erabool) have.

known Neb local MUNI P lbies alo not Hane gaulheoity 4, dAeteraine if
G paiment-form 15 lawrtal o, nol. Whether del hy prooeHty is valid at aot

 
Case 1:19-cv-00845-PLM-PJG ECF No. 1 filed 10/15/19 PagelD.9 Page 9 of 16

 

 

 

FIRST CAUSE OF ACIEDN OF PLAINICFF

That asa suaill Bol HN al apres aeealh, ‘Mean ellen é Cl of Behe!
pronerty of challles, Plaintiff heina a cihzah of 4. Lwited Shates Las
Sitnethed Ale pean ed his rights ivleaes and ‘mmunities Secured hy |
Constitvhon opel riled la and A Yaiwsek 4 Lhikd Shabec , sustained sLengudbats
ool kes aaadnis Boeke

pecsond i; (ales » tvasion of pracy. and viola hans of
his awh cidht Th Poundina , ere pr leeclows te Leda l| compulsian

of <obmission cot 1 elderly mother has caused signitzaut mental
Chauaes iA Iver

 

 

(D Tanmesietly ot leawmacls a lip alerl rats, anki(t, Vs Lue and!

mother fi.) a claim witht Cose* 15-928), Wisies hae: 30 dats ee

elaosed sino presentathon of. claim. avd after Al Pleintrhhe

claim, I, G. ok selected documents cad met with Stera Mesf
ob dL Trew GL Bice aot clacal A. persona | miele 4
_\adiawa ACTOSS ats. lines af whedab. Comme/cl This net

has Coaitved |, otk dL HainktL [oho and trade impedeing

his commerce.

SECOND CAUSE OF ACTION

 

 

——

{CSSPASS ran er ines$
bers, aw) on a eran pop u bos

 
Case 1:19-cv-00845-PLM-PJG ECF No. 1 filed 10/15/19 PagelD.10 Page 10 of 16

@ Th. secsons Sand HW. co not hove o voseecory atereed an ff
Ate amie. act he He Plaatti die. nor Kas amceemet hls person

for HW. emplover made. at Q alotemet Seca hic OPiINioNs . N.1
aie weaker a claim i Qa Pronerdy Oo! Possesory mahi any of dh.
Dedendants claimdl. Plainti Hi right lig heen fds hy dt Moniciole.

defendant en bev Atecesss 4 t, dt. plaintifl peconal property,

No Nod cause exists Li, 4. deprivation and I Valve. af Pose: valoble
instruments have een chepasi-tiod inte Hy. coffers al Ae employers
of both NW aud HW, ~The ack Lite dh. fee excercise.
ai business andtrabe. wl 4h Plant dd

@ The Sale of He dekndanls to ablean o veribied avlhoriecdion Loom

Gi eezanecal We. party with ecnbvtichuiell interest J and Nerealer heina denied
ye a plaintiff de artertes with his contractual interest, put

i. Medal on nahrea-i iN NO! Wary iA fhe perfemavie. ot ofbcial
duhes of tLe Defendank, The defendants acted in aw extreme.

and outrageous manner,
_THTRD CAUSE QF ACT TON
“Paraacarhs |- G are. rcalleded and incor porested Ly a ae
LIPON Hie claim of extotin hecouse. eM an Defendants lenew

aber Service maa provide vawarranted eagichenstce
4. Qa contrat sath AA vielation and breach of thal contract

 
Case 1:19-cv-00845-PLM-PJG ECF No. 1 filed 10/15/19 PagelD.11 Page1lof16 —

éy ad, W. with ue fale ae Hs Berrien Louk Sheritl, Rercel ment
Under coler ot other al right, did obtain peciae, property af He
lointill and his fd Ly membecs. ALlec obtainins 4. rseseupeanl property | W.
shishucled dhe intended beneficiaries enlovment ot Lhe properly, some of
uahich involded de territory malades. Shite at Mickioan. Ahr
shit arannat be properly, Iw Hien, ehumadl dhe sromarly es Steven

Noch, a Tdiana Stede Biba: olluer, The purpose. ot bs Convevavae Was

4, resol! ot de “Berrien Covak's Poseculy declined iy prosecote due b
4 orckibiton al 4h. Federal Law IZ usc $5001, e4 sea. Nw wshile

heing declined Ly He cxeeecator Ale streets deusereee blll have: ranch
Shed 4. WSC ah Vidlen! as or potential ree: of Hi Sherill derarlment
sithout ui eclarin 0 hel property eaieblited xs Gabbea’ Thents
fii 4, elle. provetly , but, Conver dl. properly accross tobe lines

el elias cules bivmcko eginehanen J imerference. bith iabecsbak.
Cemmerce hy extortion, robber awd physical viokente, astitth induced leiee
Gnd vesathna inthe best of Ibesty zy AL Aint and his Kile

The ahcwe dace tihed ayers zoel: Pal Helene as crumb Under

Cea Busch tee VL A ed ae. hohe clare.
Tala olathe ih, 2, cok ge A Ul

_ COUNT 1
Ted ey a with LOMMertie— ks ssa leon and rather

Cawd 2.
haloes Commerce by artotin ond robhery.

 
Case 1:19-cv-00845-PLM-PJG ECF No. 1 filed 10/15/19 PagelD.12 Page 12 of 16

Gs) Thad as a sell Fels the trespass, walicebl Theorie aoe. ith combact-
obloahas, plank LOas deprived of the aiivered economic valve. of fle

personal beat lls a hts ther, Th chadlles were. converted heliubht |

hy a testanentuy dispasihen, Plainkdl bit pact and pactial 4, th
establidnnent of de (Snihed he b, in ee he Was suhieced
A, epravations of hic nm die priv liaes aad immunities secured bithe Lsastilohan

of 4. Dhihed Gh det, and 4. | aus of fe United Shole sustained chepravahens
Bt ie personal liberty » WNVASION of privacy} and violad rons of evil richts, has sutleed

and wil Conhneb suffer from asicoloaical Caml mental dichess, paiulteetods

embocaseenanl shee defunchon of his character and reputaton, was prevented
ae attending fs his Usual dutes CONEEIMING a a oe if intecstate ;

Comma , stvocbtcetzo- ooh domestic acca ldies 4 hi Anvhinen=taus
Bitte, is children, awd axe testis The damase inthe SOM

of O, 000,000. ooh million dollace) ;

\WHEREFORE* Pleinkll | Bacan~Bey ex cel clines dauave Fee clemande

A Comoensehyy damases atter dixovery,
B- Bia gee amasges
qi Tree Damaces ainziclns bath yana O. civil

“Ted ISO, O00, O00. 7 one hundred Lh, willon Hallas Mf, —_——
D. 4 Ded avahon Aeclarina defendark acho as vacorstdhol wh ded,

E, | “Temporary 1 Rehminass cand Permewout insuvcton restrevnina and eawining te pelnagl tov

oniertaein Claimina, Convexing, Babine: Maintaining uy Sinavedl documents ot tee
Basian A ails or ite membes.

Fo The same as ‘eghwe. nerelnd Shae Pazclbecdl Loan ineubanli oradoctine ave pol cies

A
Case 1:19-cv-00845-PLM-PJG ECF No. 1 filed 10/15/19 PagelD.13 Page 13 of 16

G2) On Remedies and Peale the ain, vh uit pleintifl and i Lrill wwas/ is
Conlmued sb be abel b. was consistent with an instbtomaleed erache. of He
Berrien Counts Sheafl deeartment, which wasie Vain 1 malltadtrued by the
Sheeff GS he Was Served biecardexed wail hy Plain, Th “Defendant ereviateel t
Sherfle devadment havina at no time taken avi eHechve. achon to prevent
Nes personnel ala Conmhaving + enaase. in such conduct or-to rede 4h.

damase. CGused:

UB) sGoalon and tebel te Grdbedll Be inenllounl athensed’ tblartses! es
1 nlPtore bees! practtes and Talal fa mieceaeiicl hereinthelre dedaiked by:

@) Fein “b> SracaW chanplne. reshictantt central eavletess, ineluiine the
defendant \ BW. and Schn Does who accomoanied S.5 onthe robbery

(4) Fails ee aleauale. Precautions VA the hints promotion and retention of

Persome\ Specleats AAS, And County prosecutors

C) Foihas i, foward 4 4 aii ue: oi a Al oinies ofhas evidence Bo
C.ciminal acts Commit-hed be preeanannls
(4 ) Foilins , estabheh and of QSsure Hh Lonchantig ol ne Lie ond meant

denstlments _s¥stem 1 dwelt with com plants of misconduct, hot instead
fespondine fo complains with <i lencgton - achion, hontihuereae power. thi lrandast
LS as affecting eleinhitt based on _\ bs testimones iA eladiana.

@i) A. Q Conseaueme of fhe hase. ast exulliocils detriled hove. oleinhll sustand

Aamoses Key Ne DA wars ei Search ’ contiscaton, awd dis pos]
of Fe etl instruments cwd other persona! Papers Absiiene Commera.,
Case 1:19-cv-00845-PLM-PJG ECF No. 1 filed 10/15/19 PagelD.14 Page 14 of 16

(F eal): Proced eS, srachiescce acts ast Biclocina persms ,or queen
Pelsons ue CCIMes which 30 not conshk. Lo Aohciatent with decd law

excest wher lau: Cileraoent et tamale: shai: probable cause copported by
an auditors, oc accourtank hekef thal fraud is acdall reser!

G: Asse sch other and fother relief dhl this court we nde Just, Proper.

Gnd equi tale.

 
   
  

vin beneheiary Hb
ee A/M iz-b-1972

gy ‘OLDEN ME
zane | Dow, 122-1972 SSM ending 1808

ETN anding 2285

a above lie is atfimed Ms Me wader AL oat at 4 aided Shakes

lf! Amerca, TL. | tLe Claims epan MWY ew Pessnal knowledce,s Jeska j

upen rehave of Federal Roles at Cuil ‘Pocedure- Bk Af Kb Lhe 5 is
allah: Lull Provide 4 ELE ot 2 oat watlt Ow eae eotth Mv

Fall thonb pew es Coheeti Ouly . awd fe Apatite purpose. af
bia Za all ties due Ly en

ort hes ME al Sail} N; T hin

SA \\

oOo

 
 
Case 1:19-c

Calta Leldadeees Oa yada pea tata tile

 
